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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Sozo Illinois, Inc., f/k/a Sozo Health, Inc.

             Plaintiff,


                                                          Case No. 21-cv-03809
                      v.

 Jay Robert Pritzker, Governor of the State of
 Illinois, in his official capacity; and

 Mario Treto, Jr., in his official capacity as
 Acting Secretary of the Illinois Department of
 Financial and Professional Regulation


             Defendants.

                     MOTION FOR LEAVE TO FILE OVERSIZED BRIEF

        Plaintiff Sozo Illinois, Inc. f/k/a Sozo Health, Inc. (“Sozo”), by and through its attorneys,

Hansen Reynolds LLC, and pursuant to Local Rule 7.1, file this motion for leave to file a 21-page brief

in support of its Motion for a Temporary Restraining Order and a Preliminary Injunction. A copy of

Sozo’s proposed brief is attached hereto. Sozo seeks to enjoin Defendants from implementing the

recently amended licensure provisions of the Cannabis Regulation and Tax Act, 410 ILCS 705/1 et

seq. because the Act (as amended) violates the Commerce Clause of the U.S Constitution, and also

impinges on Sozo’s right to due process and equal protection under both the U.S. and Illinois

Constitution. In light of the complex nature of the Act and its multiple constitutional deficiencies,

Sozo submits that the 6 pages in excess of Rule 7.1’s 15-page limit will aid the Court in ruling on

Sozo’s request for injunctive relief and therefore respectfully requests that the Court grant it leave to

file the attached oversized brief. Sozo would have no objection to Defendants filing a similarly-sized

brief in response.


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                                 HANSEN REYNOLDS LLC



                                 /s/      Alan Nicgorski
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